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 1                                                              The Honorable David G. Estudillo
 2

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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8
                                           AT TACOMA
 9
     WILL CO. LTD. a limited liability company           Case No.: 3:20-cv-05666-DGE
10   organized under the laws of Japan,
                                                         PLAINTIFF’S OBJECTIONS TO
11                       Plaintiff,                      REPORT AND RECOMMENDATION
                   vs.                                   DKT. NO. 65
12

13   KAM KEUNG FUNG, aka 馮 錦 強, aka
     FUNG KAM KEUNG, aka FUNG KAM-
14   KEUNG, aka KUENG FUNG, aka KEUNG
     KAM FUNG, aka KAM-KEUNG FUNG, aka
15
     KEVIN FUNG, an individual; FELLOW
16   SHINE GROUP LIMITED, a foreign company,
     and DOES 1-20, d/b/a AVGLE.COM,
17
                         Defendants.
18
19

20         COMES NOW, Plaintiff Will Co. Ltd. (“Will Co.”), by and through its undersigned

21   counsel, and files these Objections to Report and Recommendation, Dkt. No. 65.

22                               I.    OBJECTIONS AND ARGUMENT

23         Growth within a specific market for an Internet business is not happenstance but rather

24   based upon intentional design. What is arguably happenstance is the timing of the Ninth

25   Circuit Court of Appeals’ ruling in Will Co., Ltd v. Ka Yeung Lee, et al. Ninth Circuit Court of

26   Appeals Cause No. 21-35617, United States District Court Western District of Washington

     Cause No. 3:20-cv-05802-BHS, copy attached hereto. The ruling was issued early morning
     PLAINTIFF’S OBJECTIONS TO REPORT AND                           FREEMAN LAW FIRM, INC.
     RECOMMENDATION - 1 [NO. 3:20-cv-05666 DGE]                      1107 ½ Tacoma Avenue South
                                                                          Tacoma, WA 98042
                                                                  (253) 383-4500 - (253) 383-4501 (fax)
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 1   August 31, 2022, the date of this briefing and is unequivocally relevant to the analysis of the

 2   instant motion. The District Court in Will Co., Ltd v. Ka Yeung Lee dismissed the action for

 3   lack of personal jurisdiction. The Ninth Circuit Court of Appeals overturned that decision,

 4   finding express aiming in the United States and harm in the forum. Since the facts of this

 5   instant matter are strikingly similar to Will Co., Ltd v. Ka Yeung Lee, in fact, identical in all

 6   meaningful ways, this Court should alter its analysis accordingly and determine that Will Co.

 7   has established a prima facie showing of jurisdiction.

 8         Previously, relying heavily on AMA v. Wanat, 970 F.3d 1201 (9th Cir. 2020), this Court

 9   concluded that the use of a Content Delivery Network (CDN) in the United States, express
10   reference to United States law, and contracting for ads which were expressly intended for an

11   audience in the forum was not enough to establish express aiming. Will Co., Ltd v. Ka Yeung

12   Lee unequivocally establish that conclusion is wrong.

13         In Will Co., Ltd v. Ka Yeung Lee, the Court found that the ad structure which clearly

14   established profit from the United States market, use of hosting and CDN services permitted

15   faster delivery to the United States, and web pages that addressed legal compliance almost

16   exclusive to the United States established express aiming in the United States market. These

17   are exactly the same facts here. In addition, Defendants in Will Co., Ltd v. Ka Yeung Lee

18   provide the exact same arguments as presented here, that they do not control advertisements,
19   the use of the CDN in the United States is happenstance to Cloudflare’s services, and the web

20   pages referencing U.S. law was part of a template and not intentional. The Ninth Circuit

21   dismantled these arguments.

22         In Will Co., Ltd v. Ka Yeung Lee, the Ninth Circuit reiterated that “express aiming” is

23   established when a website operator both actively appeals to and profits from an audience in

24   the forum. Will Co., Ltd v. Ka Yeung Lee at p 12, citing AMA Multimedia, 970 F.3d at 1210.

25   Specifically, the Ninth Circuit found the Defendants in Will Co., Ltd v. Ka Yeung Lee made

26   “two key choices demonstrating their intent to cultivate an audience in the United States.” Id.

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 1       at p 15. First, the Defendants’ choice to host and utilize CDN in the United States because of

 2       the reduction of the time it takes for a website to load.          Id. at 15-17. Second, the web pages

 3       posted on the website that address legal compliance were relevant almost exclusively to

 4       viewers in the United States. Id. at 17-18.

 5              The combination of the CDN and web pages dedicated to compliance with U.S. law

 6       established that the defendants intentionally appealed to the United States market. That geo-

 7       targeted ads were used for the United States and that site generated 1.3 million viewers

 8       established that the site profited from the United States market. Accordingly, there is “express

 9       aiming” in the United States.
10              The facts of Will Co., Ltd v. Ka Yeung Lee are essentially identical to the facts here.

11       Should this Court follow the Report and Recommendation (Dkt. No. 65) and the initial analysis

12       (Dkt. No. 43), the results on appeal will be the same. Ninth Circuit law mandates a finding of

13       jurisdiction here.

14              Additionally, the new evidence presented in Plaintiff’s supplemental memorandum (Dkt.

15       No. 61 and 62) adds to the finding that Defendant intended to appeal to a United States market

16       and are circumspect nor “opaque” as found in the Report and Recommendation (Dkt. No. 65).

17              Defendant’s ad broker, Tiger Media, required Defendants to aver that the content of

18       Avgle.com complied with United States law.1 Defendants, therefore, utilized an ad broker who
19       was U.S. law compliant. Viewing the light most favorable to Will Co., as the Court is required

20       to do, See, Rio Props., Inc. v. Rio Int’l Interlink, 284 F.3d 1007, 1019 (9th Cir. 2002), this means

21       that Tiger Media broadcast in the United States and Defendants knowingly intended for such.

22       This is combined with the fact that Defendants were required for final approval for all content

23

24

25   1 The Report and Recommendation minimizes the requirements of Tiger Media as “boilerplate” terms of service.
26   Plaintiff is unaware of any case law that “boilerplate” language renders the language meaningless or unintentional
     by the parties. Here, “boilerplate” or not, it must be presumed Defendants were aware of the language AND is
     evidence Defendant knew Tiger Media was United States law compliant and broadcasted in the United States.
     PLAINTIFF’S OBJECTIONS TO REPORT AND                                           FREEMAN LAW FIRM, INC.
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                                                                                       Tacoma, WA 98042
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 1   Tiger Media displayed. Therefore, the Defendants were aware of the ad content and their use

 2   for U.S. viewers. Such is a strong indication of intent to appeal to the United States market.

 3                                        II.     CONCLUSION

 4         If a court decides to rule on personal jurisdiction without an evidentiary hearing, a plaintiff

 5   must make only a prima facie showing of jurisdictional facts to survive the motion. Bauman v.

 6   DaimlerChrysler Corp., 644 F. 3d 909, 919 (9th Cir. 2011). Here, consistent with Will Co., Ltd v. Ka

 7   Yeung Lee, et al.     Ninth Circuit Court of Appeals Cause No. 21-35617, Will Co. has

 8   established that the Defendants appealed to and profited from the United States market.

 9         DATED this 31st day of August 2022.
10                                                        FREEMAN LAW FIRM, INC.
11
                                                                 s/ Spencer D. Freeman _______
12                                                       Spencer D. Freeman, WSBA # 25069
                                                         FREEMAN LAW FIRM, INC.
13                                                       sfreeman@freemanlawfirm.org
14                                                       Attorney for Plaintiff Will Co.
15

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     PLAINTIFF’S OBJECTIONS TO REPORT AND                              FREEMAN LAW FIRM, INC.
     RECOMMENDATION - 4 [NO. 3:20-cv-05666 DGE]                         1107 ½ Tacoma Avenue South
                                                                             Tacoma, WA 98042
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                           FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT


          WILL CO., LTD., a limited liability       No. 21-35617
          company organized under the laws
          of Japan,                                   D.C. No.
                           Plaintiff-Appellant,    3:20-cv-05802-
                                                        BHS
                           v.

          KA YEUNG LEE, an individual;                OPINION
          YOUHAHA MARKETING AND
          PROMOTION LIMITED, a foreign
          company; DOES, 1–20, doing
          business as ThisAV.com,
                        Defendants-Appellees.


                Appeal from the United States District Court
                  for the Western District of Washington
                Benjamin H. Settle, District Judge, Presiding

                    Argued and Submitted May 18, 2022
                           Seattle, Washington

                           Filed August 31, 2022

           Before: Kim McLane Wardlaw, Ronald M. Gould, and
                     Mark J. Bennett, Circuit Judges.

                        Opinion by Judge Wardlaw
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         2                    WILL CO., LTD. V. LEE

                                   SUMMARY *


                              Personal Jurisdiction

            The panel reversed the district court’s dismissal of a
         copyright suit for lack of specific personal jurisdiction and
         remanded for further proceedings.

             Will Co. Ltd., a Japanese adult entertainment producer,
         brought this copyright infringement action against the
         owners and operators of ThisAV.com, a video-hosting site
         based in Hong Kong, alleging that the site was displaying
         without authorization several of its copyrighted works. The
         district court found that it lacked specific personal
         jurisdiction over ThisAV.com’s owners and operators
         because Will Co. could not establish that they “expressly
         aimed” ThisAV.com’s content at the United States market,
         or that it was foreseeable that operating the site would cause
         jurisdictionally significant harm in the United States.
         Defendants were Youhaha Marketing and Promotion
         Limited (“YMP”) and Ka Yeung Lee.

             The panel held that under Federal Rule of Civil
         Procedure 4(k), the federal long-arm statute, a federal court
         may exercise jurisdiction over a foreign defendant if: (1) the
         claim arises under federal law, (2) the defendant is not
         subject to jurisdiction in any state’s courts of general
         jurisdiction, and (3) exercising jurisdiction comports with
         due process. Defendants conceded the first two elements.
         As to the third element, the exercise of personal jurisdiction
         over a defendant comports with due process if a defendant
             *
               This summary constitutes no part of the opinion of the court. It
         has been prepared by court staff for the convenience of the reader.
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                            WILL CO., LTD. V. LEE                      3

         has “minimum contacts” with the relevant forum such that
         the exercise of jurisdiction does not offend traditional
         notions of fair play and substantial justice. In the context of
         tort claims, like the Copyright Act claims at issue here, a
         defendant has the requisite minimum contacts with the
         forum if: (1) the defendant purposefully directs its activities
         at the forum, (2) the lawsuit arises out of or relates to the
         defendant’s forum-related activities, and (3) the exercise of
         jurisdiction is reasonable.

             To determine whether defendants purposefully directed
         their activities at the forum, the panel applied the “Calder
         Effects Test” and asked whether defendants: (1) committed
         an intentional act, (2) expressly aimed at the forum state,
         (3) causing harm that the defendant knows is likely to be
         suffered in the forum state. As to the first element, the panel
         concluded that both YMP and Lee committed at least one
         intentional act by operating ThisAV.com and purchasing its
         domain name and domain privacy services. As to the second
         element, both defendants did “something more” than mere
         passive operation of the website. Their advertising structure
         demonstrated that they profited from viewers in the United
         States market, and their intent to cultivate an audience in the
         United States was demonstrated by their choice to host the
         website in Utah and to purchase content delivery network
         services for North America, which made the site load faster
         for viewers there, and by the fact that the webpages they
         posted on the site that addressed legal compliance were
         relevant almost exclusively to viewers in the United States.
         As to the third element, defendants’ conduct caused harm in
         the United States because there were almost 1.3 million
         visits to their website in the United States during the relevant
         period, and that harm was foreseeable.
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             The panel held that defendants “purposefully directed”
         their operation of ThisAV.com at viewers in the United
         States. The panel reversed and remanded to the district court
         to conduct the remainder of the personal jurisdiction analysis
         under Rule 4(k).


                                 COUNSEL

         Spencer D. Freeman (argued), Freeman Law Firm Inc.,
         Tacoma, Washington, for Plaintiff-Appellant.

         Evan Fray-Witzer (argued), Ciampa Fray-Witzer LLP,
         Boston, Massachusetts; Valentin Gurvits and Frank
         Scardino, Boston Law Group PC, Newton, Massachusetts;
         Philip P. Mann, Mann Law Group PLLC, Seattle,
         Washington; for Defendants-Appellees.


                                  OPINION

         WARDLAW, Circuit Judge:

             Will Co. Ltd., a Japanese adult entertainment producer,
         brought this copyright infringement action against the
         owners and operators of ThisAV.com, a video-hosting site
         based in Hong Kong, alleging that the site was displaying
         without authorization several of its copyrighted works. The
         district court dismissed the suit, finding that it lacked
         specific personal jurisdiction over ThisAV.com’s owners
         and operators because Will Co. could not establish that they
         “expressly aimed” ThisAV.com’s content at the United
         States market, or that it was foreseeable that operating the
         site would cause jurisdictionally significant harm in the
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         United States. We disagree, and reverse and remand for
         further proceedings.

                                       I.

                                      A.

             Will Co. Ltd. is a Japanese entertainment company that
         produces adult videos featuring Japanese models in Japanese
         environments. The firm has produced more than 50,000 full-
         length videos and has registered in the United States for
         copyright protection for all of them. It sells access to its
         videos exclusively on R18.com, and makes over one million
         dollars a year selling its content to consumers in the United
         States.

             To protect its market share, Will Co. actively
         investigates and reviews sites that display Japanese erotica
         for free looking for instances of copyright infringement. In
         June 2020, the firm discovered that one of those sites,
         “ThisAV.com,” was displaying thirteen of its videos without
         permission. It sent ThisAV.com take-down notices pursuant
         to the Digital Millennium Copyright Act (“DMCA”),
         17 U.S.C. § 512(c). When the works were not removed,
         Will Co. brought this suit against Does 1–20 under the
         Copyright Act, 17 U.S.C. § 101 et. seq. After limited
         discovery, revealing that Youhaha Marketing and Promotion
         Limited (“YMP”) owns ThisAV.com, and Ka Yeung Lee
         (“Lee”) serves as a Director of YMP, Will Co. named them
         as Defendants.

             Shortly thereafter, Defendants moved to dismiss this
         lawsuit under Rule 12(b)(2) for lack of personal jurisdiction.
         Will Co. conceded that the district court lacked general
         personal jurisdiction over either defendant. Lee is a
         permanent resident of Hong Kong and currently resides in
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         6                  WILL CO., LTD. V. LEE

         Canada, and YMP is registered in Hong Kong and operates
         ThisAV.com exclusively out of its offices there. However,
         Will Co. asserted that the district court had specific personal
         jurisdiction over both defendants because the tortious
         conduct in which they allegedly engaged, running
         ThisAV.com, which unlawfully displayed copyrighted
         videos, was sufficiently connected to the United States.

             In their briefing before the district court, the parties
         asserted the following relevant facts about the operation of
         the site. ThisAV.com is a Japanese-language video-hosting
         website. Like YouTube, it allows users to upload and view
         videos for free and makes its money by displaying ads
         alongside those videos. As of February 2021, there were a
         total of 221,541 user-uploaded videos on the site. The
         majority of those videos had titles written in the Japanese
         alphabet and were in Japanese.

             Defendants Lee and YMP created the site and purchased
         its domain name (ThisAV.com). They acquired hosting
         services from an American company, Gorilla Servers, with
         servers in Utah. They purchased content delivery network
         (CDN) services from Cloudflare, another American
         company, and utilized Cloudflare’s network of servers in
         North America and Asia. And they purchased a website
         template with some pre-existing text and images, which they
         modified to suit their needs.

             Most of the website’s text is in Japanese. However, all
         of the pages focused on legal compliance are in English and
         are geared toward compliance with United States law. The
         “Privacy Policy” page states that it is legal to access the site
         in the United States, but makes no guarantees about the
         legality of access from other nations:
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                  [ThisAV.com] is a website available from its
                  location in the United States of America. We
                  at ThisAV.com do not warrant or make any
                  discretion about its appropriate use and
                  availability outside the aforementioned
                  country. If the ThisAV.com website is
                  accessed outside of the relevant location,
                  those users must comply with their local
                  jurisdiction regarding website access and
                  usage.

         The “Terms and Conditions” page states that the content on
         the site is “subject to copyright and other intellectual
         copyright under United States, Canada and other foreign
         laws and international conventions.” And finally, two
         related pages entitled “DMCA” and “2257” provide the
         site’s procedures for compliance with two United States
         laws, the Digital Millennium Copyright Act, 1 17 U.S.C.
         § 512(c), which implements international agreements
         regarding copyright protection, and 18 U.S.C. § 2257,2


              1
                 The “DMCA” page states: “In accordance with the Digital
         Millennium Copyright Act of 1988 . . . Thisav will respond
         expeditiously to claims of copyright infringement that are reported to
         Thisav’s designated copyright agent identified below. Please also note
         that under Section 512(f) any person who knowingly materially
         misrepresents that material or activity is infringing may be subject to
         liability . . . All claims of . . . copyright infringement on or regarding this
         Website should be delivered to Thisav’s designated copyright agent at
         the following email address: copyright@thisav.com . . . .”

              2
                The “2257” page states: “With respect to the records as per 18 USC
         2257 for any and all content on this site please kindly direct your request
         to the site for which the content was produced . . . [F]or further assistance
         and/or information in finding the content’s originating site, please
         contact ThisAV.com compliance at compliance@thisAV.com.”
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         which requires that producers of adult content keep records
         of all performers’ dates of birth and other information.

              While YMP and Lee set up the site, they have a relatively
         limited role in operating it on a day-to-day basis. They do
         not themselves post any content, as all of the videos on the
         site are uploaded by users. Nor do they place any ads; rather,
         they sell all of the advertising space on the site to third-party
         vendors. 3 Several of those third-party ad vendors use geo-
         targeting to place their ads, which means that viewers in a
         particular location are served ads relevant to that location.
         So, for example, a person visiting the site from China might
         receive an ad in Chinese for a hotel in Beijing, while a person
         visiting the site from the United States might receive an ad
         in English for a hotel in Chicago.

             Most of ThisAV.com’s viewers are located in Asia.
         However, the site has a significant audience in the United
         States. During the period the allegedly infringing videos
         were on display, April 1, 2020 to June 30, 2020, the site was
         viewed approximately 28 million times. Nearly 85% of
         those views came from three countries: Japan (52.5%),
         Taiwan (15.7%), and Hong Kong (15.4%). Although only
         4.6% of the views came from within the Unites States, that
         percentage amounted to more than 1.3 million views.

                                           B.

             On June 30, 2021, the district court granted Defendants’
         motion to dismiss for lack of personal jurisdiction. It held
         that Will Co. failed to establish two necessary elements for

             3
              YMP admits that it did contract directly with one advertiser on one
         occasion, but that advertiser was based in Hong Kong, and the
         advertisement it placed was not directed at the United States.
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         specific personal jurisdiction: that the content on
         ThisAV.com was “expressly aimed” at the United States,
         and that by operating ThisAV.com Defendants caused
         “jurisdictionally significant harm.” The district court
         determined that Will Co. failed to establish the Defendants
         had expressly aimed the site’s contents at the United States,
         reasoning that the jurisdictional facts here are
         indistinguishable from those of a recent Ninth Circuit case,
         AMA Multimedia, LLC v. Wanat, 970 F.3d 1201 (9th Cir.
         2020), in which we found against jurisdiction because the
         defendant had not expressly aimed the operation of his
         website at the United States. And the district court held that
         there was no jurisdictionally significant harm because during
         the relevant period only 4.6% of the site’s viewers were in
         the United States, so the “brunt of the harm” had occurred
         elsewhere. This timely appeal followed.

                                      II.

             We review the district court’s dismissal for lack of
         personal jurisdiction de novo. See Picot v. Weston, 780 F.3d
         1206, 1211 (9th Cir. 2015). When a defendant moves to
         dismiss a complaint for lack of personal jurisdiction, the
         plaintiff bears the burden of demonstrating that jurisdiction
         is appropriate. See Schwarzenegger v. Fred Martin Motor
         Co., 374 F.3d 797, 800 (9th Cir. 2004). When the
         Defendant’s motion is based on written materials rather than
         an evidentiary hearing, as is the case here, “we only inquire
         into whether [the plaintiff’s] pleadings and affidavits make
         a prima facie showing of personal jurisdiction.” Id.
         (alteration in original) (quoting Caruth v. Int’l
         Psychoanalytical Ass’n, 59 F.3d 126, 128 (9th Cir. 1995)).
         Uncontroverted allegations in the complaint must be taken
         as true, and conflicts between parties over statements
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         contained in affidavits must be resolved in the plaintiff’s
         favor. Id.

                                          III.

             Federal Rule of Civil Procedure 4(k) governs personal
         jurisdiction in federal court. In this case, Will Co. contends
         the district court erred by dismissing this action because it
         has specific personal jurisdiction 4 under Rule 4(k)(2), often
         referred to as the federal long-arm statute.

                                           A.

             Under Rule 4(k)(2), a federal court may exercise
         jurisdiction over a foreign defendant if: (1) the claim arises
         under federal law, (2) the defendant is not subject to
         jurisdiction in any state’s courts of general jurisdiction, and
         (3) exercising jurisdiction comports with due process. See
         Pebble Beach Co. v. Caddy, 453 F.3d 1151, 1159 (9th Cir.
         2006). Defendants concede that Will Co.’s claim arises
         under federal law and that they are not subject to jurisdiction
         in any state court of general jurisdiction, so the determinative
         question here is whether the exercise of jurisdiction over
         them comports with due process.

             The exercise of personal jurisdiction over a defendant
         comports with due process if a defendant has “minimum
         contacts” with the relevant forum such that the exercise of
         jurisdiction “does not offend traditional notions of fair play

              4
                A court may exercise either “general” or “specific” personal
         jurisdiction over a defendant. Easter v. Am. W. Fin., 381 F.3d 948, 960
         (9th Cir. 2004). Will Co. concedes that the court lacks general
         jurisdiction over Defendants, so the only issue is whether the court has
         specific personal jurisdiction over Will Co.’s claims against Lee and
         YMP.
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         and substantial justice.” Int’l Shoe Co. v. Washington,
         326 U.S. 310, 316 (1945) (internal quotation marks and
         citation omitted); see also Schwarzenegger, 374 F.3d at 801.
         In the context of tort claims, like the Copyright Act claims
         at issue here, a defendant has the requisite minimum contacts
         with the forum if: (1) the defendant “purposefully direct[s]”
         its activities at the forum, (2) the lawsuit “arises out of or
         relates to the defendant’s forum-related activities”, and
         (3) the exercise of jurisdiction is “reasonable.” Mavrix
         Photo, Inc. v. Brand Techs., Inc., 647 F.3d 1218, 1227–28
         (9th Cir. 2011) (internal citations omitted).

             This appeal revolves around prong one of that test:
         whether Defendants “purposefully directed” the content of
         ThisAV.com at the United States. To determine whether a
         defendant “purposefully directed” its activities at the forum,
         we apply the “Calder Effects Test” and ask whether the
         defendant: “(1) committed an intentional act, (2) expressly
         aimed at the forum state, (3) causing harm that the defendant
         knows is likely to be suffered in the forum state.”
         Schwarzenegger, 374 F.3d at 803 (quoting Dole Food Co. v.
         Watts, 303 F.3d 1104, 1111 (9th Cir. 2002)); see also Calder
         v. Jones, 465 U.S. 783 (1984). We analyze those factors in
         turn.

                                       B.

             Both YMP and Lee committed at least one “intentional
         act.” For the purposes of personal jurisdiction, a defendant
         acts intentionally when he acts with “an intent to perform an
         actual, physical act in the real world, rather than an intent to
         accomplish a result or consequence of that act.”
         Schwarzenegger, 374 F.3d at 806. We have held that
         “operating a passive website,” purchasing a domain name
         and purchasing domain privacy services are all intentional
         acts. AMA Multimedia, 970 F.3d at 1209 (citation omitted);
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         see also Pebble Beach, 453 F.3d at 1156. It is undisputed
         that YMP operated ThisAV.com, and that Lee purchased its
         domain name and domain privacy services. Thus, the first
         purposeful direction element is readily satisfied.

                                      C.

             Whether Lee and YMP “expressly aimed” ThisAV.com
         at the United States market is a closer question. In
         examining whether “tortious conduct on a [globally]
         accessible website is expressly aimed at any, or all, of the
         forums in which the website can be viewed,” we look to the
         actions of the operators in operating the site. Mavrix,
         647 F.3d at 1229. Mere passive operation of a website is
         insufficient to demonstrate express aiming. See AMA
         Multimedia, 970 F.3d at 1209–1210 (citation omitted)
         (requiring “something more” than simply making the
         website accessible in the forum). Rather, the operator must
         have both actively “appeal[ed] to” and “profit[ed] from” an
         audience in that forum. Id. at 1210.

             For example, in Mavrix Photo Inc., v. Brand
         Technologies, Inc., 647 F.3d 1218 (9th Cir. 2011), Mavrix
         Photo, an agency that licensed candid photos of celebrities
         to publications like People and US Weekly magazines, sued
         Brand Technologies and Brad Mandel (collectively
         “Brand”), who operated the celebrity gossip website
         celebrity-gossip.net, for copyright infringement in the
         Federal District Court for the Central District of California.
         Id. at 1221–24. Mavrix alleged that Brand had displayed
         several of its copyright protected photos on celebrity-
         gossip.net without its permission. Id. at 1223. Brand moved
         to dismiss, arguing the Central District of California lacked
         specific personal jurisdiction. Id.
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             We held that Brand had “expressly aimed” the content of
         celebrity-gossip.net at the California market because it had
         both appealed to and profited from consumers there. Id.
         at 1229. It appealed to the California market by posting
         stories and ads that were particularly relevant to California
         consumers. For example, it posted stories about the “the
         California-centered celebrity and entertainment industries,”
         and ads for jobs, hotels, and vacations in California. Id. at
         1222, 1230. And it “profit[ed] from” California consumers
         through advertising revenue. Id. at 1231. Brand made its
         money by selling the advertising space on its website to
         third-party advertisers, so “the more visitors there [were] to
         the site, the more hits that [were] made on the
         advertisements; the more hits that [were] made on the
         advertisements, the more money that [was] paid by the
         advertisers to Brand.” Id. at 1230. Therefore, because “[a]
         substantial number of hits to Brand’s website came from
         California residents,” California consumers had generated a
         substantial profit for the firm. Id.

             By contrast, in AMA Multimedia v. Wanat, 970 F.3d
         1201 (9th Cir. 2020), we found that AMA, an adult
         entertainment producer, had not met its burden to show that
         the defendant Marcel Wanat, the operator of ePorner.com,
         an adult-video-hosting site similar to ThisAV.com, had
         actively appealed to the United States market. Id. at 1204.
         Unlike in Mavrix, the content of the site’s videos and
         advertisements provided no evidence of Wanat’s subjective
         intent to appeal to or profit from users in any particular
         forum because all of the videos were uploaded by users, and
         all of the advertisements were placed by third parties not
         located in the United States who tailored the advertising
         themselves. Id. at 1210–11. Thus, although over 20% of
         ePorner.com’s traffic derived from United States users, that
         fact shed little light on whether ePorner.com was expressly
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         aimed at those users in light of the advertising structure it
         employed. Id.

             AMA pointed to two other pieces of evidence that Wanat
         had actively targeted the United States market, both of which
         we rejected. First, AMA pointed to Wanat’s choice to use
         Tiggee as a domain service provider. Tiggee advertised
         itself as one of the fastest domain service providers for site
         visitors in the United States. Id. at 1212. However, AMA
         adduced no evidence that Wanat had selected Tiggee or was
         motivated to do so because he wanted to appeal to U.S.
         viewers. Id. Second, AMA argued that every website visitor
         assented to the site’s Terms of Service. Therefore, Wanat
         had entered into a contract with every person who used the
         site, including visitors in the United States. Id. We
         explained that while those terms of service “could create
         specific jurisdiction in the United States for [suits alleging]
         violation of those terms,” they “[did] not evince Wanat’s or
         ePorner’s effort to target the U.S. market” because they were
         irrelevant to Wanat’s subjective intent. Id. Therefore, even
         though Wanat had likely profited from the forum—nearly
         20% the site’s traffic came from the United States—
         Plaintiffs did not meet their burden to show he had actively
         appealed to consumers in the U.S., so there was no “express
         aiming.” Id. at 1211.

             Here, unlike in AMA Multimedia, Will Co. met its burden
         of showing “something more” to demonstrate that
         Defendants “appeal[ed] to” and “profit[ed] from” the U.S.
         market. Id. at 1210. First, the advertising structure
         Defendants employed demonstrated that they profited from
         viewers in the United States market. Like the Defendants in
         Mavrix, ThisAV.com “makes its money by selling
         advertising space on its website to third-party advertisers,”
         so “the more visitors there are to the site, the more hits that
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         are made on the advertisements; [and] the more hits that are
         made on advertisements, the more money that is paid by the
         advertisers to [YMP and Lee].” Mavrix, 647 F.3d at 1230.
         Therefore, because ThisAV.com was viewed by people in
         the United States more than 1.3 million times during the
         relevant period, the site earned considerable revenue from
         that market.

             Whether Defendants intentionally appealed to U.S.
         consumers is a closer question. However, unlike the
         Plaintiff in AMA, Will Co. provided evidence that
         Defendants made at least two key choices demonstrating
         their intent to cultivate an audience in the United States.

             First, Defendants chose to host the website in Utah and
         to purchase content delivery network services for North
         America, which reduced the time it takes for the site to load
         in the United States. The time it takes for a site to load,
         sometimes referred to as a site’s “latency,” is critical to a
         website’s success. 5 For one, swift loading is essential to
         getting users in the door. The faster a site loads in a
         particular location, the better its search engine optimization
         (SEO) will be there, that is, the higher it will appear in search
         engine results as compared to competitors. 6 Appearing early
         in search results is critical to attracting web traffic. Studies
         show that 93% of online experiences begin with the user


             5
               See What is a CDN? How do CDNs Work?, Cloudflare, available
         at https://www.cloudflare.com/learning/cdn/what-is-a-cdn/ (last visited
         Aug. 9, 2022); What is Latency?, Cloudflare, https://www.cloudflare.co
         m/learning/performance/glossary/what-is-latency/ (last visited Aug. 9,
         2022).
             6
               See How Site Speed Influences SEO, Yoast, https://yoast.com/how-
         site-speed-influences-seo/ (Nov. 13, 2018) (last visited Aug. 9, 2022).
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         typing something into a search engine, 7 and that the results
         on the first page receive nearly 92% of overall traffic for that
         term. 8 Swift loading is also crucial to keeping potential site
         visitors engaged. Research shows that sites lose up to 10%
         of potential visitors for every additional second a site takes
         to load, 9 and that 53% of visitors will simply navigate away
         from a page that takes longer than three seconds to load.10
         Even tiny differences in load time can matter. Amazon
         recently found that every 100 milliseconds of latency cost it
         1% in sales. 11

             There are a few ways sites can make their pages load
         faster. For one, the site’s operators can choose to host their
             7
               See AJ Agarwal, How To Optimize Your SEO Results Through
         Content Creation, Forbes, https://www.forbes.com/sites/ajagrawal/201
         7/08/30/how-to-optimize-your-seo-results-through-content-creation/?sh
         =28612ea2aa37 (Aug. 30, 2017) (last visited Aug. 9, 2022).

              8
                 See Kelly Shelton, The Value of Search Results Rankings,
         https://www.forbes.com/sites/forbesagencycouncil/2017/10/30/the-valu
         e-of-search-results-rankings/?sh=56b02d0544d3 (Oct. 30, 2017) (last
         visited Aug. 23, 2022); Alex Valencia, Why SEO Still Matters in
         2020, Forbes, https://www.forbes.com/sites/forbesagencycouncil/2020/
         03/10/why-seo-still-matters-in-2020/?sh=86686b734b14 (Mar. 10,
         2020) (last visited Aug. 9, 2022).

              See Matthew Wall, How Long Will You Wait For a Shopping
              9

         Website to Load, BBC News, https://www.bbc.com/news/business-
         37100091 (Aug. 19, 2016) (last visited Aug. 9, 2022).

              10
                 See Consumer Insights, Google Data, https://www.thinkwithgoo
         gle.com/consumer-insights/consumer-trends/mobile-site-load-time-stati
         stics/ (last visited Aug. 9, 2022).

              11
               See Amazon Study: Every 100ms in Added Page Load Time Cost
         1% in Revenue, ContentKing, https://www.contentkingapp.com/acade
         my/page-speed-resources/faq/amazon-page-speed-study/ (Aug. 10,
         2021) (last visited Aug. 22, 2022).
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         site on servers near their desired audience. The closer a
         viewer is located physically or geographically to the host
         server, the faster that page will load for the viewer. 12
         Second, the site’s operators can purchase access to a content
         delivery network (CDN), a distributed network of servers
         covering a particular geographic area, which permits users
         to access the site from any server in the network, not just the
         host server, and thus decreases the distance between users
         and the server. 13 This allows persons within the area covered
         by the CDN to access the site more quickly.

             In this case, by choosing to host ThisAV.com in Utah
         and to purchase CDN services for North America,
         Defendants chose to have the site load faster for viewers in
         the United States and slower for viewers in other places
         around the world. Given how important loading speed is to
         achieving and maintaining an audience, Defendants’ choice
         is good evidence that they were motivated to appeal to
         viewers in the United States more than any other
         geographical location.

             Second, the webpages Lee and YMP posted on the site
         that address legal compliance are relevant almost
         exclusively to viewers in the United States. The “Privacy
         Policy” page specifically guarantees that it is lawful for
         persons in the United States to access ThisAV.com, but
         provides no such guarantee for persons in other nations:


             12
                See What is Latency?, Cloudflare, https://www.cloudflare.com/le
         arning/performance/glossary/what-is-latency/ (last visited Aug. 9,
         2022).
             13
                  What is a CDN? How do CDNs Work?, Cloudflare,
         https://www.cloudflare.com/learning/cdn/what-is-a-cdn/ (last visited
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                ThiaAV.com [sic] is a website available from
                its location in the United States of America.
                We at ThisAV.com do not warrant or make
                any discretion about its appropriate use and
                availability outside the aforementioned
                country. If the ThisAV.com website is
                accessed outside of the relevant location,
                those users must comply with their local
                jurisdiction regarding website access and
                usage.

         Further, while the “Terms and Conditions” page states that
         the content on the site is “subject to copyright and other
         intellectual copyright under United States, Canada and other
         foreign laws and international conventions,” the site
         provides specific pages dealing with compliance with United
         States law only: the “DMCA” page and the “2257” page.
         Notably, while the majority of the site is in Japanese, the
         legal compliance pages are in English, and thus readily
         comprehensible to the average person in the United States.

             Defendants’ counterarguments are unavailing. First,
         they object to two of Will Co.’s factual assertions. They
         object to Will Co.’s assertion that the CDN they purchased
         only decreases latency in North America and Asia, arguing
         that it actually decreases latency all around the world.
         However, at this stage, we resolve factual disputes in favor
         of the plaintiff, so we must assume that the CDN Defendants
         purchased decreased load times in North America and Asia
         only. See Schwarzenegger, 374 F.3d at 800.

             Defendants also object to Will Co.’s assertion that they
         intentionally posted the compliance pages. They claim that
         the content on those pages came with the website template
         they purchased, and that they inadvertently failed to remove
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         it. Will Co. counters that even if those pages came with the
         template Defendants used, they chose to customize them
         with their own contact information, which demonstrates they
         knew the pages existed and made the decision to keep them.
         Again, at this stage we resolve factual disputes in favor of
         the plaintiff, so for the purposes of resolving this motion, we
         must assume that Defendants intended to post the content
         that appears on the compliance pages, and thus that it is
         evidence of their subjective intent to target the U.S. market.
         Id.

             Second, Defendants point to several cases holding that
         the location of a site’s server alone cannot establish express
         aiming. However, the authority they cite simply states that
         the location of the server alone is insufficient to establish
         personal jurisdiction, not that it is irrelevant to the analysis.
         See, e.g., Hungerstation LLC v. Fast Choice LLC, No. 20-
         15090, 2021 WL 1697886, at *2 (9th Cir. Apr. 29, 2021)
         (“Our circuit has never decided that personal jurisdiction is
         proper over a private foreign entity solely because that entity
         engaged in tortious conduct from a location outside of the
         United States by remotely accessing servers located in the
         United States.”) (emphasis added).

             Finally, Defendants argue that the evidence of
         intentionality shows only that they anticipated persons in the
         United States might access the site and therefore prepared
         for them, not that they specifically sought out those viewers.
         Defendants are correct that the fact that a site’s operators
         anticipated persons from a particular forum might access the
         site is not enough to show they actually desired those
         viewers. See AMA Multimedia, 970 F.3d at 1210 (“Although
         Wanat may have foreseen that ePorner would attract a
         substantial number of viewers in the United States, this alone
         does not support a finding of express aiming.”). So here, it
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         would be insufficient for Defendants to have simply
         anticipated people from the United States might access
         ThisAV.com and to have set up pages to make sure they
         could do so lawfully. But in this case, Defendants did
         significantly more than that. In addition to the hosting and
         CDN, the site specifically states that access is only lawful in
         the United States, and provides compliance procedures only
         for the United States, which means it prepared for U.S.
         visitors to the exclusion of all others.

            Therefore, we find that the Defendants both appealed to
         and profited from a United States audience, and thus
         expressly aimed the site at the United States.

                                       D.

             Finally, Will Co. must show that the conduct at issue
         caused harm in the United States, and that that harm was
         foreseeable. See Keeton v. Hustler Magazine, 465 U.S. 770,
         776 (1984); see also Dole Food Co., 303 F.3d at 1113.

             A defendant causes harm in a particular forum when the
         “bad acts” that form the basis of the plaintiff’s complaint
         occur in that forum. Mavrix, 647 F.3d at 1231. If a
         Defendant’s actions cause harm in multiple fora, jurisdiction
         is proper in any forum where a “sufficient” amount of harm
         occurs, even if that amounts to only a small percentage of
         the overall harm caused. Yahoo! Inc. v. La Ligue Contre Le
         Racisme Et L’Antisemitisme, 433 F.3d 1199, 1207 (9th Cir.
         2006) (en banc) (“We take this opportunity to clarify our law
         and to state that the ‘brunt’ of the harm need not be suffered
         in the forum state. If a jurisdictionally sufficient amount of
         harm is suffered in the forum . . . it does not matter that even
         more harm might have been suffered in another [forum].”).
         For example, in Keeton v. Hustler Magazine, 465 U.S. 770
         (1984), the Supreme Court held that New Hampshire had
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         personal jurisdiction over the publisher of a national
         magazine, Hustler, even though just over one percent of
         sales occurred in that state, because that one percent still
         amounted to “a substantial number of copies.” Id. at 780–
         81. We find this case is closely analogous to Keeton. While
         just 4.6% of ThisAV.com’s views occurred in the United
         States during the relevant period, that amounted to over
         1.3 million visits, an undeniably “substantial” number. See
         also AMA Multimedia, 970 F.3d at 1220 (Gould, J.,
         dissenting).

             We also find that the harm was foreseeable. The
         operators of ThisAV.com actively appealed to a U.S.
         audience, knew that a significant number of people in the
         United States were actually viewing the website, and were
         put on notice that they were hosting infringing content when
         Will Co. sent them a takedown notice. In light of that, it’s
         hard to see how Defendants could have failed to anticipate
         the harm that occurred in the forum.

                                     IV.

             For the reasons stated above, we conclude that
         Defendants “purposefully directed” their operation of
         ThisAV.com at viewers in the United States.           We
         REVERSE, and REMAND to the district court to conduct
         the remainder of the personal jurisdiction analysis under
         Rule 4(k).
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           What is a CDN? | How do CDNs work?
           Explore how a CDN works under the hood to deliver fast, efficient and secure delivery of content to
           websites and Internet services.




           What is a CDN?




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           A content delivery network (CDN) refers to a geographically distributed group of servers which work
           together to provide fast delivery of Internet content.



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           A CDN allows for the quick transfer of assets needed for loading Internet content including HTML
           pages, javascript files, stylesheets, images, and videos. The popularity of CDN services continues to
           grow, and today the majority of web traffic is served through CDNs, including traffic from major sites
           like Facebook, Netflix, and Amazon.

           A properly configured CDN may also help protect websites against some common malicious attacks,
           such as Distributed Denial of Service (DDOS) attacks.




           Is a CDN the same as a web host?
           While a CDN does not host content and can’t replace the need for proper web hosting, it does help
           cache content at the network edge, which improves website performance. Many websites struggle to
           have their performance needs met by traditional hosting services, which is why they opt for CDNs.

           By utilizing caching to reduce hosting bandwidth, helping to prevent interruptions in service, and
           improving security, CDNs are a popular choice to relieve some of the major pain points that come
           with traditional web hosting.


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           Although the benefits ofo. a CDN vary depending on the size and needs of an Internet property,
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           the primary benefits for most users can be broken down into 4 different components:

           1.    Improving website load times - By distributing content closer to website visitors by using a
                 nearby CDN server (among other optimizations), visitors experience faster page loading times.
                 As visitors are more inclined to click away from a slow-loading site, a CDN can reduce bounce
                 rates and increase the amount of time that people spend on the site. In other words, a faster a
                 website means more visitors will stay and stick around longer.


           2.    Reducing bandwidth costs - Bandwidth consumption costs for website hosting is a primary
                 expense for websites. Through caching and other optimizations, CDNs are able to reduce the
                 amount of data an origin server must provide, thus reducing hosting costs for website owners.

           3.    Increasing content availability and redundancy - Large amounts of traffic or hardware
                 failures can interrupt normal website function. Thanks to their distributed nature, a CDN can
                 handle more traffic and withstand hardware failure better than many origin servers.

           4.    Improving website security - A CDN may improve security by providing DDoS mitigation,
                 improvements to security certificates, and other optimizations.


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           How does a CDN work?
           At its core, a CDN is a network of servers linked together with the goal of delivering content as
           quickly, cheaply, reliably, and securely as possible. In order to improve speed and connectivity, a
           CDN will place servers at the exchange points between different networks.

           These Internet exchange points (IXPs) are the primary locations where different Internet providers
           connect in order to provide each other access to traffic originating on their different networks. By
           having a connection to these high speed and highly interconnected locations, a CDN provider is able
           to reduce costs and transit times in high speed data delivery.




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           Beyond placement of servers in IXPs, a CDN makes a number of optimizations on standard
           client/server data transfers. CDNs place Data Centers at strategic locations across the globe, enhance
           security, and are designed to survive various types of failures and Internet congestion.




           Latency - How does a CDN improve website load

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           times?
           When it comes to websites loading content, users drop off quickly as a site slows down. CDN
           services can help to reduce load times in the following ways:

           •   The globally distributed nature of a CDN means reduce distance between users and website
               resources. Instead of having to connect to wherever a website’s origin server may live, a CDN lets
               users connect to a geographically closer data center. Less travel time means faster service.


           •   Hardware and software optimizations such as efficient load balancing and solid-state hard drives
               can help data reach the user faster.


           •   CDNs can reduce the amount of data that’s transferred by reducing file sizes using tactics such as
               minification and file compression. Smaller file sizes mean quicker load times.


           •   CDNs can also speed up sites which use TLS/SSL certificates by optimizing connection reuse and
               enabling TLS false start.

           Explore all the ways a CDN helps websites load faster

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           Reliability and Redundancy
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           keep a website
           Uptime is a critical component for anyone with an Internet property. Hardware failures and spikes in
           traffic, as a result of either malicious attacks or just a boost in popularity, have the potential to bring
           down a web server and prevent users from accessing a site or service. A well-rounded CDN has
           several features that will minimize downtime:

           •   Load balancing distributes network traffic evenly across several servers, making it easier to scale
               rapid boosts in traffic.


           •   Intelligent failover provides uninterrupted service even if one or more of the CDN servers go
               offline due to hardware malfunction; the failover can redistribute the traffic to the other
               operational servers.


           •   In the event that an entire data center is having technical issues, Anycast routing transfers the
               traffic to another available data center, ensuring that no users lose access to the website.

           Learn more about how a CDN helps keep websites online



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           Data Security - How does a CDN protect data?
           Information security is an integral part of a CDN. a CDN can keep a site secured with fresh TLS/SSL
           certificates which will ensure a high standard of authentication, encryption, and integrity. Investigate
           the security concerns surrounding CDNs, and explore what can be done to securely deliver content.
           Learn about CDN SSL/TLS security




           Bandwidth Expense - How does a CDN reduce
           bandwidth costs?
           Every time an origin server responds to a request, bandwidth is consumed. See how a CDN, like the
           Cloudflare CDN, cuts down on origin requests and reduces bandwidth costs.




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           CDN Reliability           N
           What is Anycast?

           What is a CDN Data Center?

           What is an Origin Server?

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             What is latency? | How to fix latency
             Network latency is the amount of time it takes for a data packet to go from one place to another.
             Lowering latency is an important part of building a good user experience.




             More on Performance




             Copy article link


             What is latency?
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             Latency is the time it takes for data to pass from one point on
                                                                          L          5, 2022 Suppose Server
                                                                             a network to another.
             A in New York sends a data packet to Server B in L
                                                             o,    td. Server
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                                                                            gu     2 the packet at 04:38:00.000
                                                                               sAtsends
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                                                                        A of latency on this path is the
                                                    Will GMT.
             GMT and Server B receives it at 04:38:00.145
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             difference between these two times: 0.145    arc or 145 milliseconds.
                                                        7 seconds
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                                         2 between a user's device (the "client" device) and a data center. This
                                    No.
             Most often, latency is measured
             measurement helps developers understand how quickly a webpage or application will load for users.

             Although data on the Internet travels at the speed of light, the effects of distance and delays caused
             by Internet infrastructure equipment mean that latency can never be eliminated completely. It can
             and should, however, be minimized. A high amount of latency results in poor website performance,
             negatively affects SEO, and can induce users to leave the site or application altogether.




             What causes Internet latency?
             One of the principal causes of network latency is distance, specifically the distance between client
             devices making requests and the servers responding to those requests. If a website is hosted in a
             data center in Columbus, Ohio, it will receive requests fairly quickly from users in Cincinnati (about
             100 miles away), likely within 5-10 milliseconds. On the other hand, requests from users in Los
             Angeles (about 2,200 miles away) will take longer to arrive, closer to 40-50 milliseconds.

             An increase of a few milliseconds may not seem like a lot, but this is compounded by all the back-


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             and-forth communication necessary for the client and server to establish a connection, the total size
             and load time of the page, and any problems with the network equipment the data passes through
             along the way. The amount of time it takes for a response to reach a client device after a client
             request is known as round trip time (RTT). RTT is equal to double the amount of latency, since data
             has to travel in both directions — there and back again.

             Data traversing the Internet usually has to cross not just one, but multiple networks. The more
             networks that an HTTP response needs to pass through, the more opportunities there are for delays.
             For example, as data packets cross between networks, they go through Internet Exchange Points
             (IXPs). There, routers have to process and route the data packets, and at times routers may need to
             break them up into smaller packets, all of which adds a few milliseconds to RTT.



             Network latency, throughput, and bandwidth


             Latency, bandwidth, and throughput are all interrelated, but they all measure different things.
             Bandwidth is the maximum amount of data that can pass through the network at any given time.
             Throughput is the average amount of data that actually passes through over a given period of time.
             Throughput is not necessarily equivalent to bandwidth, because
                                                                    v . L           5 , 2 02by2latency and other
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             factors. Latency is a measurement of time, not ofLtd.much data
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             How can latency be reduced?
             Use of a CDN (content delivery network) is a major step towards reducing latency. A CDN caches
             static content and serves it to users. (The Cloudflare CDN makes it possible to cache dynamic
             content as well with Cloudflare Workers.) CDN servers are distributed in multiple locations so that
             content is stored closer to end users and does not need to travel as far to reach them. This means
             that loading a webpage will take less time, improving website speed and performance.

             Other factors aside from latency can slow down performance as well. Web developers can minimize
             the number of render-blocking resources (loading JavaScript last, for example), optimize images for
             faster loading, and reduce file sizes wherever possible. Code minification is one way of reducing the
             size of JavaScript and CSS files.

             It is possible to improve perceived page performance by strategically loading certain assets first. A
             webpage can be configured to load the above-the-fold area of a page first so that users can begin
             interacting with the page even before it finishes loading (above the fold refers to what appears in a
             browser window before the user scrolls down). Webpages can also load assets only as they are
             needed, using a technique known as lazy loading. These approaches do not actually improve



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             network latency, but they do improve the user's perception of page speed.




             How can users fix latency on their end?
             Sometimes, network "latency" (slow network performance) is caused by issues on the user's side, not
             the server side. Consumers always have the option of purchasing more bandwidth if slow network
             performance is a consistent issue, although bandwidth is not a guarantee of website performance.
             Switching to Ethernet instead of WiFi will result in a more consistent Internet connection and
             typically improves Internet speed. Users should also make sure their Internet equipment is up to
             date by applying firmware updates regularly and replacing equipment altogether as necessary.



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                   Users expect websites to be£fast. As the world becomes increasingly mobile,
                   and as consumers expect services to be on-demand and seamlessly delivered,
                   having a poor site speed can seriously impact your SEO.


                   Google understands that the time it takes for a page to load is a key part of the
                   overall user experience. Waiting for content to appear, being unable to interact with
                   a page, and even£noticing delays creates£friction.


                   That friction costs not only time, but also money. Research from as far back as 2016
                   showed that£53% of mobile website visitors will leave if a webpage doesn’t load


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                   within three seconds. And those kinds of bad experiences can leave a lasting
                   negative impression of a brand.


                   In fact, research shows that the level of stress from waiting for slow mobile results
                   can be more stressful than watching a horror movie.




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                   Ericsson Mobility Report MWC Edition,
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                   So it’s no surprise that£Google has been measuring the speed of your site, and using
                   that in their ranking algorithms,£since 2010. More recently, in 2018, the speed of your
                   site on/for mobile devices became a much more important signal, too. They
                   understand that a good user experience is a£fast£user experience.



                   Frustration hurts your users, and hurts
                   your rankings
                   And it’s not just Google – research from every corner of the web, on all aspects of
                   consumer behavior, shows that speed has a£huge impact on outcomes.


                      47% of people expect a site to load in less than 2 seconds (wired.com)

                      20% of users abandon their cart if the transaction process is too slow
                      (radware.com)


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                      Amazon found every 100ms of latency cost them 1% in sales

                      The BBC found they lost an additional 10% of users for every additional second
                      their site took to load


                   These costs and this type of site abandonment happen because users don’t like to be
                   frustrated. Poor experiences mean that they go elsewhere, visit other websites, and
                   convert with competitors.


                   Those behaviors are easily tracked by Google (through bounces back to search
                   engine results pages, short visits, and other signals), and are a strong signal that the
                   page shouldn’t be ranking where it was.



                   Google wants a faster web
                   Speed isn’t only good for users – it’s good for Google, too. Slow websites are often
                   slow because they’re inefficient. They may load too many large files, haven’t
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                   optimized their media, or don’t make use of modern
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                   That means that Google1has5to61consume  more bandwidth, allocate more resources,
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                   and spend moreNmoney.


                   Across the whole web, every millisecond they can save, and every byte they don’t
                   have to process, adds up quickly. And£quite often, simple changes to configuration,
                   processes or code can make websites£much faster, with no drawbacks.


                   That may be one reason why Google is so heavily invested in the AMP Project, and
                   why they’re so vocal in their education on performance.


                   A faster web is better for users, and reduces Google’s operating costs£significantly.
                   Either way, that means that they’re going to continue rewarding fast(er) sites.



                   Getting started
                   Unsurprisingly, some of the best resources on optimizing your website are from


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                   Google themselves.


                   We recommend that you explore their Web Fundamentals documentation to get an
                   understanding of the techniques, tools, and approaches to building faster websites.


                   There are also a variety of tools available for measuring and monitoring the speed of
                   your site. Here are a few which we recommend trying out:


                      Lighthouse, for Google Chrome – one of the most sophisticated performance
                      measurement tools available, and great for benchmarking.

                      WebPageTest – provides a waterfall diagram of how all of the assets load on your
                      website. Great for spotting slow resources and bottlenecks.

                      Our posts – we have a bunch of great blog posts which explore tools, techniques,
                      and terminology!


                   Any questions? Let us know in the comments!
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                   Jono is our Head o
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                                        SEO.     a digital strategist, marketing
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                   technologist, and full stack developer. He's into technical SEO,
                   emerging technologies, and brand strategy.




                   Coming up next!




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                     It’s now become pretty common knowledge that one of the best
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                     ways to increase brand exposure is through content marketing.
                     However, the best content in the world won’t help you generate
                     leads unless the public is able to discover it in the first place.

                     This is where search engine optimization (SEO) comes in. By
                     optimizing your content for search, you can ensure that more
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                     people will find – and potentially engage with – your organization.

                     Here are a few ways to raise your content’s SEO value.

                     1. Use Keywords Effectively

                     75% of Internet users never scroll past the first page of search
                     results, which means you’ll need to get on that first page to capture
                     people’s attention. One of the best ways to do this is by coming up
                     with strong keywords that people looking for information about
                     your niche would use when searching.

                     Chances are you’re already naturally including keywords in your
                     content, since you’re providing information about a topic. However,
                     there are often keywords you haven’t considered that can help you
                     get higher in search rankings.

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                     Try brainstorming what kinds of language
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                                               Think          relevant topics to your
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                                     o. 2create a list of potential keywords for each topic.
                     industry, andNthen
                     You can also use keyword research tools like the Google Adwords
                     Keyword Tool to come up with your keyword lists. At that point,
                     you can optimize your content for relevant keywords.

                     A good rule of thumb is to keep your focus on just one or two
                     keywords per piece of content. This will help you keep the focus of
                     your content narrow enough to make it easier to place keywords in
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                     strategic locations – like the first 65 characters of your headline –
                     and avoid keyword stuffing.

                     2. Optimize Multiple Features

                     Along with the beginning of your headline, there are a few other
                     strategic locations to place your keywords in order to help you best
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                     increase the SEO value of your content.

                     For instance, one of the easiest – but often overlooked – areas to
                     optimize your content is in the URL. Having a clear, simple URL
                     with a keyword or two will help search engines easily figure out
                     what’s on the page, making it more likely that your content will
                     appear higher up in search results.

                     You should also take into account your post length when putting up
                     written content. Although Google tends to prioritize long articles
                     over shorter ones, which means that you should have at least 300
                     words or so, overly long posts can turn off potential readers. This
                     means articles should be somewhere around 700 words, and you
                     should try to put keywords in about 1 – 2% of your text.

                     Finally, images are a great way to not only make your content
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                     aesthetically pleasing, but also boost yourvcontent’s      02
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                     When you upload a photo, include
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                                                         a description that includes a lot of
                     fill out the alt text field with1a7brief
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                                           21-Alt text is how search engines understand
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                     those same keywords.
                     what an image is about, so filling it with keywords will help your
                     content sit higher in the search rankings. Since 93% of online
                     experiences begin with a search engine, this is extremely valuable
                     to getting more eyes on your website.

                     3. Use Links To Reference Others

                     Out of the top results on a Google search page, about 99% of the
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                     websites have at least one external link. It’s important to place
                     internal and external links in your content to increase its SEO
                     value.

                     Internal links are helpful because they help search engines index
                     your site, pick up on your main keywords, and overall improve the
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                     pagerank of the pages that you link. Basically, it brings other
                     relevant content you’ve produced to the attention of search engines,
                     giving you more bang for your buck than keeping everything
                     separate.

                     External links lead to pages outside your website, which have a
                     couple of uses. For one, they help search engines identify important
                     keywords. More importantly, they help you gather incoming links
                     from other websites as those content creators see you link to them.
                     It’s generally good etiquette to provide someone with a link who
                     links to them, especially if the content is related.

                     Although in an ideal world great content would be all you need to
                     reach a wide audience, the reality is that you’ll need strong SEO
                     strategies to expose your website to viewers in the first place. By
                     paying attention to certain SEO techniques, you will be on your way
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                     to boosting your content and boosting
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                     What are some other useful1ways
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                     content’s SEONvalue?


                              AJ Agrawal                                                 Follow



                     I am a serial entrepreneur, marketer and advisor to Fortune 500 brands. My
                     growth strategies have been recognized by Fortune, Fox, Fast Company,...
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                     LEADERSHIP


                     The Value Of Search Results
                     Rankings

                                    Kelly Shelton Forbes Councils Member
                                    Forbes Agency Council COUNCIL POST | Membership (Fee-Based)


                     POST WRITTEN BY

                     Kelly Shelton

                     VP of Marketing atøBoostability and champion for SMBs.



                     Oct 30, 2017, 08:00am EDT


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                     Shutterstock


                     Every business is trying to reach the top page of Google search
                     results — this the principal aim of any SEO strategy. But what is the
                     value of a first-page ranking? The answer varies for every keyword,
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                     making it possible to determine exactly how much a ranking is
                     worth to you.

                     Calculating Values

                     To value your current rankings, you need to calculate the return on
                     investment of each of your organic search listings. The best tool to
                     use is Google Adwords, which provides all the information you
                     need about individual keywords. You can use the data to determine
                     the traffic value of each keyword. A simple calculation for traffic
                     value is earnings per click multiplied by the number of searches
                     multiplied by the click-through rate.

                     First Page Compared To Later Pages

                     If you feel disappointed by any of your traffic values, find out where

                                                                   ee useful to
                     your keyword is currently ranking. It is much more         2 a
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                     ranking on page one than on a later            ust 2 obvious
                                              W ill C ived Au
                                               1 7  arch end up at the later results
                     when you consider how few searches
                     pages. According to21-
                                         Moz, 6 first page of Google captures 71% of
                                           35the
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                     search traffic clicks and has been reported to be as high as 92% in
                     recent years. Second-page results are far from a close second
                     coming in at below 6% of all website clicks.

                     Furthermore, you need to include ads and searches without clicks
                     in the equation. Only 15% of traffic clicks on an ad or tries a
                     different search. The remaining 85% clicks on results, according to
                     Zero Limit Web. However, this does not mean that you necessarily
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                     have a good chance of receiving any of this traffic if you appear on
                     the first page. You need to be near the top: The first five results
                     receive 67.6% of clicks, whereas the remaining five just receive
                     3.73%.

                     How To Reach The Top
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                     Researching the best keywords and including them in your content
                     is just one way to improve your rankings. If you want to reach the
                     top pages, you need to go a step further.

                     • Optimize your entire site. Google will penalize all your pages
                     if your website fails to meet quality and usability standards. We
                     encountered a situation like this when we began working with a
                     company that develops and manufacturers multi-spectral infrared
                     and thermal cameras. The business wanted to promote its brand
                     but had been unable.

                     Before we began publishing content with targeted keywords, we
                     needed to the fix broken links and other errors Google had flagged.

                     To fix internal broken links, we use tools like Search Console,
                     Screaming Frog and AWR. These tell us the page the link originated
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                     from and where the link is pointing. It is sometimes 5, 20 to
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                     carry out mass changes, suchillasCin
                                               W          ive  d u a formatting error
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                                              5 6 7 a populated. In other situations, we
                     prohibits proper links from1being
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                                  Noin. turn to update the broken links.
                     go to each page

                     The other errors Google had flagged on the camera site included
                     404 pages and broken or moved images. We fixed and updated
                     these links to ensure a uniform user experience across the site, and
                     updated the sitemap files and robots by removing broken and
                     incorrect links in them. As soon as Google re-indexed the site, the
                     pages started climbing in search results for all keywords. Now,
                     more than 58% of the company’s keywords are on page one.
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                     • Make pages mobile-friendly. If you’ve ever struggled to read
                     a page or navigate a website on a mobile device, you’ll know how
                     frustrating this can be. Google is also aware of this and favors
                     mobile-friendly content.
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                     • Gain authority. You need to show Google that your website
                     offers quality information and is a source that users trust. This
                     involves posting frequently, improving engagement with articles
                     (through social media efforts), and guest blogging. After initiating a
                     strategy that took all the above into account, one of our clients
                     increased impressions by 280%.

                     • Focus on links. Links play a number of roles in ranking. First,
                     Google looks at the wording of hyperlinks in content to determine
                     what keywords are associated with the link being used. For
                     instance, “find out more” is better than “click here.” If too many
                     links include the same anchor text the link may be considered
                     suspicious or unnatural.


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                     and advertising agencies. DoillI qualify?d A
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                     Google also considers the quality of the pages you are linking to.
                     They should be relevant to the content, whether they lead to
                     somewhere else on your own website or to another site.

                     Finally, you need to limit the number of links that you include in a
                     single piece of content. A few links show Google that you are
                     backing up your claims and providing further information for
                     users. Too many appear like spam and hurt your ranking.
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                     When you run the calculations for your own keywords, it should
                     become clear how high rankings play an integral role in online
                     success. To bring more keywords to the top (for greater visibility
                     and to reach all subsets of your audience), you need to focus on
                     every area of your website and incorporate more than just content
                     creation and keyword research into your marketing strategy.
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                     LEADERSHIP


                     Why SEO Still Matters In
                     2020

                                    Alex Valencia Forbes Councils Member
                                    Forbes Agency Council COUNCIL POST | Membership (Fee-Based)


                     POST WRITTEN BY

                     Alex Valencia

                     Co-owner and Director of Business Development at We Do Web Content.



                     Mar 10, 2020, 08:45am EDT | 9,553 views


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                     Photo: GETTY


                     It seems like every day some new "strategy" or technology comes
                     out claiming to the next best thing for business owners. It then
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                     becomes hard to determine what actually works for growing your
                     business and what's just snake oil.

                     If you're feeling disillusioned by the countless methods and tools
                     out there, then you might also wonder whether traditional
                     marketing methods are old news. It's common for business owners
                     to question whether strategies like search engine optimization
                     (SEO) or search engine marketing (SEM) still work in 2020.

                     The reality is that SEO still matters in 2020, though many of the
                     practices and methods have changed. For example, Google's 2019
                     BERT update lit a fire under SEO professionals to focus more on
                     optimizing content based on search intent rather than keywords.
                     Many businesses still need SEO, but they'll need to adapt to the
                     shifting landscape.

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                     SEO is still one of the
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                     locally focused businesses. What better way to bring customers in
                     the door (or to your website) than to outrank your local
                     competitors?

                     With local SEO, you can reach prospective customers and clients by
                     targeting users that are searching in your local area. Google tailors
                     the search results to your geographic location, so, if optimized
                     correctly, your website can dominate the local search results for
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                     your niche.

                     Optimize your locally focused business website with local keywords,
                     fill out your Google My Business profile and other directory
                     profiles, gather positive reviews from past clients or customers and
                     conduct backlink outreach to increase your visibility in local search.
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                     Optimizing For Search Intent Through Site Content

                     Google's BERT algorithm update in late 2019 showed us that
                     Google is getting much better at understanding (through natural
                     language processing) the context of users' searches and the intent
                     behind them. This means that websites that publish content that
                     matches what users are actually searching for may be given higher
                     priority in searches. The key is focusing on the intention behind the
                     search, not how often a specific keyword is used in your content.

                     Aim to create content that is optimized to answer users' questions
                     and provide as much value as possible. For example, if the keyword
                     you're trying to rank for is "B2B lead generation," do a quick Google
                     search of this term to see what pages are ranking in the search
                     results. Are most of the results service pages (say, B2B lead
                     generation services), or are they blog posts ("What is B2B Lead
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                     Generation?"). What's currently ranking
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                     the type of content you should
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                     provides what the user3intended
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                     means breakingN down the B2B lead generation services you offer,
                     how to contact you, client results, etc. For a blog post, define what
                     B2B lead generation is, how it works, how to get started and
                     anything else a user might want to learn about this topic.

                     This update matters for bloggers and business owners who are
                     dependant on organic traffic when it comes to generating ad
                     revenue, leads and sales. You can maximize your traffic-generating
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                     potential by creating optimized content that best matches what
                     your target audience is looking for and provides more value than
                     the pages that are currently ranking.

                     Adopting A Multichannel Approach
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                     We all know the saying "Don't put all your eggs in one basket," and
                     this certainly applies to marketing. If you rely on a single traffic
                     source to drive business to your website, you're putting your
                     business at risk if that channel ever were to dry up or disappear
                     altogether.

                     Google organic search isn't going anywhere anytime soon, so savvy
                     business owners would do well to use SEO alongside existing traffic
                     channels. By taking a multichannel approach, you can continue
                     generating results through your current campaigns while also
                     opening up a consistent stream of new leads.

                     While SEO may not be a "set it and forget it" strategy, it does have
                     the potential to drive traffic and leads on autopilot. You can easily
                     outsource SEO and/or content creation so you attract organic
                     traffic without taking time away from your primary marketing
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                     According to a 2014 survey, 84% of the millennial respondents said
                     they don't like advertising (and many of them don't trust it). It
                     seems that many of this generation of buyers are becoming more
                     resistant to traditional tactics like cold calling, email spam and even
                     paid ads.

                     But with SEO, businesses can reach this demographic where they
                     are already looking for brands — search engines. SEO works as a
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                     form of inbound marketing that attracts customers to you rather
                     than interrupting their natural scrolling with pushy sales tactics.

                     Further, you can broaden your brand's reach by targeting long-tail
                     keywords that attract highly-targeted traffic. Ranking for question-
                     based ("How do I ... ?") or comparative ("brand A versus brand B")
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                     keywords can solidify your brand as an authority on a topic and
                     position you against your competitors.

                     Plus, there is massive potential for you to rank for descriptive
                     keywords that draw in a wider audience. For example, broad terms
                     like "digital marketing methods" or "budget travel tips" may be
                     highly competitive, but they also receive a higher number of
                     searches per month. As you gain momentum (in terms of rankings
                     and traffic) from targeting long-tail keywords, you can start going
                     after broad terms with higher traffic-generating potential.

                     Conclusion

                     While some traditional marketing methods may be becoming
                     obsolete, SEO is here to stay in 2020. Whether you invested in SEO
                     early or are just getting started, it can still be a major driver of
                     traffic and leads to your website.         v . Lee  5, 2022
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                     SEO is particularly beneficial
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                     looking to reach more
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                     hoping to adopt a multichannel approach. By writing content that's
                     tailored to your audience and optimizing your website for high-
                     traffic keywords, you can expand your reach and boost your brand's
                     authority online.


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                     and advertising agencies. Do I qualify?



                            Alex Valencia
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                     Google Data, Global, n=3,700 aggregated, anonymized Google Analytics
                     data from a sample of mWeb sites opted into sharing benchmark data,
                     March 2016.



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                     United States Court of Appeals for the Ninth Circuit

                                      Office of the Clerk
                                       95 Seventh Street
                                    San Francisco, CA 94103

            Information Regarding Judgment and Post-Judgment Proceedings

Judgment
     •   This Court has filed and entered the attached judgment in your case.
         Fed. R. App. P. 36. Please note the filed date on the attached
         decision because all of the dates described below run from that date,
         not from the date you receive this notice.

Mandate (Fed. R. App. P. 41; 9th Cir. R. 41-1 & -2)
    •     The mandate will issue 7 days after the expiration of the time for
          filing a petition for rehearing or 7 days from the denial of a petition
          for rehearing, unless the Court directs otherwise. To file a motion to
          stay the mandate, file it electronically via the appellate ECF system
          or, if you are a pro se litigant or an attorney with an exemption from
          using appellate ECF, file one original motion on paper.

Petition for Panel Rehearing (Fed. R. App. P. 40; 9th Cir. R. 40-1)
Petition for Rehearing En Banc (Fed. R. App. P. 35; 9th Cir. R. 35-1 to -3)

(1)     A.      Purpose (Panel Rehearing):
        •       A party should seek panel rehearing only if one or more of the following
                grounds exist:
                ►    A material point of fact or law was overlooked in the decision;
                ►    A change in the law occurred after the case was submitted which
                      appears to have been overlooked by the panel; or
                ►    An apparent conflict with another decision of the Court was not
                      addressed in the opinion.
        •       Do not file a petition for panel rehearing merely to reargue the case.

        B.      Purpose (Rehearing En Banc)
        •       A party should seek en banc rehearing only if one or more of the following
                grounds exist:



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                ►        Consideration by the full Court is necessary to secure or maintain
                         uniformity of the Court’s decisions; or
                ►        The proceeding involves a question of exceptional importance; or
                ►        The opinion directly conflicts with an existing opinion by another
                         court of appeals or the Supreme Court and substantially affects a
                         rule of national application in which there is an overriding need for
                         national uniformity.

(2)     Deadlines for Filing:
        •    A petition for rehearing may be filed within 14 days after entry of judgment.
             Fed. R. App. P. 40(a)(1).
        •    If the United States or an agency or officer thereof is a party in a civil case,
             the time for filing a petition for rehearing is 45 days after entry of judgment.
             Fed. R. App. P. 40(a)(1).
        •    If the mandate has issued, the petition for rehearing should be accompanied
             by a motion to recall the mandate.
        •    See Advisory Note to 9th Cir. R. 40-1 (petitions must be received on the due
             date).
        •    An order to publish a previously unpublished memorandum disposition
             extends the time to file a petition for rehearing to 14 days after the date of
             the order of publication or, in all civil cases in which the United States or an
             agency or officer thereof is a party, 45 days after the date of the order of
             publication. 9th Cir. R. 40-2.

(3)     Statement of Counsel
        •     A petition should contain an introduction stating that, in counsel’s judgment,
              one or more of the situations described in the “purpose” section above exist.
              The points to be raised must be stated clearly.

(4)     Form & Number of Copies (9th Cir. R. 40-1; Fed. R. App. P. 32(c)(2))
        •    The petition shall not exceed 15 pages unless it complies with the alternative
             length limitations of 4,200 words or 390 lines of text.
        •    The petition must be accompanied by a copy of the panel’s decision being
             challenged.
        •    A response, when ordered by the Court, shall comply with the same length
             limitations as the petition.
        •    If a pro se litigant elects to file a form brief pursuant to Circuit Rule 28-1, a
             petition for panel rehearing or for rehearing en banc need not comply with
             Fed. R. App. P. 32.


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      •       The petition or response must be accompanied by a Certificate of Compliance
              found at Form 11, available on our website at www.ca9.uscourts.gov under
              Forms.
      •       You may file a petition electronically via the appellate ECF system. No paper copies are
              required unless the Court orders otherwise. If you are a pro se litigant or an attorney
              exempted from using the appellate ECF system, file one original petition on paper. No
              additional paper copies are required unless the Court orders otherwise.

Bill of Costs (Fed. R. App. P. 39, 9th Cir. R. 39-1)
       •     The Bill of Costs must be filed within 14 days after entry of judgment.
       •     See Form 10 for additional information, available on our website at
             www.ca9.uscourts.gov under Forms.

Attorneys Fees
     •     Ninth Circuit Rule 39-1 describes the content and due dates for attorneys fees
           applications.
     •     All relevant forms are available on our website at www.ca9.uscourts.gov under Forms
           or by telephoning (415) 355-7806.

Petition for a Writ of Certiorari
       •     Please refer to the Rules of the United States Supreme Court at
             www.supremecourt.gov

Counsel Listing in Published Opinions
     •     Please check counsel listing on the attached decision.
     •     If there are any errors in a published opinion, please send an email or letter in writing
           within 10 days to:
           ►      Thomson Reuters; 610 Opperman Drive; PO Box 64526; Eagan, MN 55123
                  (Attn: Maria Evangelista (maria.b.evangelista@tr.com));
           ►      and electronically file a copy of the letter via the appellate ECF system by using
                  “File Correspondence to Court,” or if you are an attorney exempted from using
                  the appellate ECF system, mail the Court one copy of the letter.




       Post Judgment Form - Rev. 12/2021                                                       3
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                         UNITED STATES COURT OF APPEALS
                              FOR THE NINTH CIRCUIT
                                 Form 10. Bill of Costs
      Instructions for this form: http://www.ca9.uscourts.gov/forms/form10instructions.pdf

9th Cir. Case Number(s)

Case Name
The Clerk is requested to award costs to (party name(s)):



I swear under penalty of perjury that the copies for which costs are requested were
actually and necessarily produced, and that the requested costs were actually
expended.
Signature                                                                 Date
(use “s/[typed name]” to sign electronically-filed documents)

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COST TAXABLE
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Principal Brief(s) (Opening Brief; Answering
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Intervenor Brief)

Reply Brief / Cross-Appeal Reply Brief                                            $                 $


Supplemental Brief(s)                                                             $                 $

Petition for Review Docket Fee / Petition for Writ of Mandamus Docket Fee /
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Appeal from Bankruptcy Appellate Panel Docket Fee

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*Example: Calculate 4 copies of 3 volumes of excerpts of record that total 500 pages [Vol. 1 (10 pgs.) +
Vol. 2 (250 pgs.) + Vol. 3 (240 pgs.)] as:
No. of Copies: 4; Pages per Copy: 500; Cost per Page: $.10 (or actual cost IF less than $.10);
TOTAL: 4 x 500 x $.10 = $200.
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Form 10                                                                                           Rev. 12/01/2021
